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                      IN THE COUNTY COURT OF THE FOURTH JUDICIAL CIRCUIT
                               IN AND FOR DUVAL COUNTY,FLORIDA
                                         CIVIL DIVISION


          RAMON S. DAVILA,
          an individual,

                        Plaintiff,                                      Case No.

          vs.


          DIVERSIFIED CONSULTANTS,INC.,
          a Florida Entity,

                        Defendant..


                                                    COMPLAINT

                COMES NOW Plaintiff, RAMON S. DAVILA (hereinafter, "Plaintiff). by and through

         undersigned counsel, and hereby sues Defendant, DIVERSIFIED CONSULTANTS, INC.

        (hereinafter,"Defendant"). In support thereof, Plaintiff alleges:

                                          PRELIMINARY STATEMENT

                 I.     This is an action for damages for violations of the Florida Consumer Collection

         Practices Act, Fla. Stat. §§ 559.55 et seq. ("FCCPA"), the Fair Debt Collection Practices Act 15

         U.S.C. §§ 1692 et seq.(-FDCPA"),and the Telephone Consumer Protection Act,47 U.S.C. §227 et

        seq. ("TCPA"), wherein Defendant repeatedly attempted to collect a consumer debt via multiple

         telephone calls to Plaintiffs Cellular Telephone despite Plaintiffs revocation ofconsent for such calls

         and advisement that he could not afford to pay the debt.

                                     JURISDICTION,PARTIES,AND VENUE

                 2.     This is an action for damages that exceeds $5,000.00 and is less than $15,000,

         exclusive ofattorneys' fees and costs.
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           3.    Jurisdiction and venue for purposes of this action are conferred by Florida Statutes,

Section 559.77, 15 United States Code, Section 1692k(d),47 United States Code, Section 227(b)(3),

and Florida Statutes, Section 47.011,et seq.

           4.    At all material times herein, the conduct of Defendant, complained of below, occurs

in Miami-Dade County, Florida.

           5.    At all material times herein, Plaintiff is an individual residing in Miami-Dade County,

Florida.

           6.    At all material times herein, Defendant is a Florida entity with its principal place of

business in Duval County, Florida.

           7.    At all material times herein, Defendant uses instrumentalities of interstate commerce

or the mails in a business the principal purpose or which is the collection of

           8.    At all material times herein, Defendant regularly collects or attempts to collect,

directly or indirectly, debts owed or due or asserted to be owed or due another.

           9.    Plaintiff is the subscriber, regular user, and carrier of the cellular telephone number.

(786-XXX-0354) (hereinafter, "Cellular Telephone"), and was the called party and recipient o

Defendant's autodialer calls.

                       FCCPA AND FDCPA STATUTORY STRUCTURE

           10.   The FCCPA is a state consumer protection statute, modeled after the FDCPA,a statute

designed to prohibit unfair, deceptive, and abusive practices in the collection of consumer debts as

well as to protect against the invasion ofindividual privacy. 15 U.S.C., §§ I692(a)and (e); Fla. Stat.

§§ 559.55 and 559.77(5).

            1.   The FDCPA imposes civil liability on any debt collector—and the FCCPA imposes

liability on any creditor/person as well as any debt collector—who "uses any instrumentality of
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interstate commerce or the mails in any business the principal purposes of which is the collection of

any debts," or who "regularly collects or attempts to collect, directly or indirectly, debts owed or due

or asserted to be owed or due to another" and both statutes prohibit engaging in particular violative

conduct in connection with collecting consumer debts. 15 U.S.C.§ 1692(a)(6); Fla.Stat.§ 559.55(5).

         12.    Specifically, the FDCPA and FCCPA prohibit unlawful debt collection

"communication with consumer debtors, which is defined as "the conveying of information

reeardine a debt directly or indirectly to any person through any mediwn." 15 U.S.C. § 1692(a)(2);

Fla. Stat. § 559.55(2)(emphasis added).

                For example, the FDCPA prohibits a debt collector from engaging in any conduct the

natural consequence of which is to harass, oppress, or abuse any person in connection with the

collection of a consumer debt, and prohibits a person from communicating directly with a debtor

known to be represented by an attorney in an attempt to collect a consumer debt. See 15 U.S.C.

1692(d)-(e).

         14.    Similarly, the FCCPA prohibits a person from collecting consumer debt by

communicating with the consumer in a manner that can be expected to harass or abuse the consumer

debtor. See Fla. Stat. § 559.72(7).

                               TCPA STATUTORY STRUCTURE

         15     Congress enacted the TCPA in effort to restrict pervasive use of telemarketing and

increasing use of cost-effective telemarketing techniques. Pub L. 102-243,§ 2, Dec. 20, 1991, 105

Sta. 2394(1)and (8).

         l6     Congress found that lujnrestricted telemarketing. can be an intnisive invasion of

privacy..." and it intended to prevent automated or pre-recorded telephone calls as the only effective
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means of protecting telephone consumers from this nuisance and privacy invasion." Id. at (5) and

(12).

         17     Under the TCPA,any person who initiates calls to any number assigned to a cellular

telephone service using any automated telephone dialing system or artificial or prerecorded voice

without the recipient's prior express consent is liable to the recipient for actual monetary loss, or up

to $500.00 in damages for each violation of the TCPA, whichever is greater. 47 U.S.C. §

227(b)(3)(B)-

         18     Additionally, under the TCPA,the court may increase the damage award up to three

(3)times, up to $1,500.00. for each willful or knowing violation ofthe TCPA. Id. at § 227(b)(3)(C).

                                   GENERAL ALLEGATIONS

        19      At all material times herein, Defendant is a "creditor" as defined by Florida Statutes.

Section 559.55(5).

        20.     At all material times herein, Plaintiff is a "debtor(s)" or"consumer(s)" as defined by

the FCCPA and FDCPA.

        21      At all material times herein, Defendant is a "debt collector" as defined by the FCCPA

and FDCPA.

        22      At all material times herein, Defendant attempted to collect a cable service balance

allegedly incurred (hereinafter, the "Debt").

        23      At all material times herein, the Debt is a consumer debt, incurred primarily for

Plaintiff's personal, household, or family use.

        24.     At all material times herein, Defendant exercised its alleged rights to collect the Debt.
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          25.     At all material times herein, Defendant is a "person subject to Florida Statutes,

Section 559.72. See Fla. Stat.§ 559.55(5); Schauer v. General Motors Acceptance C'orp., 819 So.2d

809(Fla. 4th DCA 2002).

          26      At all material times herein, Defendant's conduct,with respect to the Debt complained

of below, qualifies as"communication" as defined by the FCCPA and FDCPA.

          27.     Specifically, at all material times herein, the telephone calls (as defined more fully

infra) were each a          attempt,or threata to enforce a debt"as defined by Florida Statutes, Section

559.72(9).

              .   At all material times herein, Defendant acted itselfor through their agents,employees,

officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,

representatives, third-party vendors, and insurers.

          29      Plaintiff has retained undersigned counsel for purposes of this matter and is obligated

to pay his attorneys a reasonable fee and reimburse his attorneys for reasonable costs expended in this

action.

          3       Plaintiff is entitled to attorneys' lees and costs pursuant to the FCCPA and FDCPA.

          3       All necessary conditions precedent to the filing of this action occurred or Defendant

has waived the same.

                                     FACTUAL ALLEGATIONS

          32      In or around .lanuary 2019, Defendant acquired this alleged Debt with the purpose of

collecting it from Plaintiff.

          33.     Shortly thereafter, Defendant began bombarding Plaintiff's Cellular Telephone with

a campaign of repeated collection calls.
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        34     .On at least five(5)separate occasions in July 2019, Plaintiffadvised Defendant that

he did not owe the debt and requested that Defendant stop calling his Cellular Telephone.

        35.     Notwithstanding Plaintiff's requests, Defendant continued to place automated calls

to Plaintiff's Cellular Telephone in attempts to collect the Debt.

        36      When Plaintiff answered Defendant's calls to his Cellular Telephone, Plaintiff

would   have to say "hello- multiple times before being connected with Defendant's representative.

        37      Such a pause after answering is a tell-tale sign of Defendant's use ofan automatic

telephone dialing system or predictive telephone dialing system.

        38      Defendant—or its authorized vendor or third-party agent acting within a scope of

authority granted by Defendant, with the knowledge ofthe Defendant, and under the control ofthe

Defendant—used an automated telephone dialing system or predictive telephone dialing system to

place calls to Plaintiffs Cellular Telephone.

        39      Defendant placed artificial voice calls to Plaintiffs Cellular Telephone from July 1,

2019 to the present.

        40.     Defendant placed pre-recorded voice calls to Plaintiffs Cellular Telephone from

July 1, 2019 to the present.

        41      Defendant placed calls to Plaintiff's Cellular Telephone using an automatic

telephone dialing system,as that term is defined by the TCPA,from July 1, 2019 to the present.

        42.     Despite Plaintiffinforming Defendant for the reason of his non-payment, Defendant

continued its efforts to collect the Debt from Plaintiff. As a result, Defendant's subsequent attempts

to induce payment made with the intent to exhaust Plaintiff's will and harass Plaintiff.

         43.    The majority of the collection calls continued after Plaintiffexplicitly advised

Defendant not to call his Cellular Telephone.
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       44.      Defendant's conduct caused Plaintiffto suffer injuries in fact through significant

anxiety, emotional distress, frustration, and anger.

       45.      Florida Statutes, Section 559.77. provides for the award of up to $1,000.00 statutory

damages,actual damages, punitive damages,an award of attorneys fees, and costs to Plaintiff,

should Plaintiff prevail in this matter against Defendant.

       4G.      United States Code,Title 47, Section 227(b)(3) provides for the award of$500.00 or

actual damages. whichever is greater, for each telephone call placed using any automatic telephone

dialing system or an artificial or pre-recorded voice to Plaintiff's Cellular Telephone in violation of

the TCPA or the regulations proscribed thereunder.

        47.     Additionally, the TCPA,Section 227(b)(3)allows the trial court to increase the

damages up to three times, or $1,500.00. for each telephone call placed using any automatic

telephone dialing system or an artificial or prerecorded voice to Plaintiff's Cellular Telephone in

willful or knowing violation ofthe TCPA or the regulations proscribed thereunder.

                                 COUNT ONE:
                    UNLAWFUL DEBT COLLECTION PRACTICES —
                VIOLATION OF FLORDA STATUTES,SECTIONS 559.72(7)

        Plaintiff re-alleges paragraphs one (l)through forty-seven (47) as if fully restated herein

and further states as follows:

        48.     Defendant is subject to, and violated the provisions of, Florida Statutes, Section

559.72(7) by collecting the consumer Debt from Plaintiff through means which can reasonably be

expected to abuse or harass Plaintiff.

        49.     Specifically. as noted above, although Plaintiff explicitly revoked consent,

requested/demanded that the direct collection communication cease, explained that the Debt was not

owed, but Defendant nevertheless continued to call Plaintiffand attempt to collect the Debt.
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              .As a direct and proximate result of Defendant's actions, Plaintiff sustained damages

as defined by Florida Statutes, Section 559.77.

                              COUNT TWO:
                UNLAWFUL DEBT COLLECTION PRACTICE —
      VIOLATION OF 15 UNITED STATES CODE,SECTIONS 1692d and 1692d(51

       Plaintiffs re-allege paragraphs one(1)through forty-seven (47) as if fully restated herein

and further state as follows:

       51      Defendant is subject to, and violated the provisions of, United States Code, Sections

I692d and 1692d(5) by engaging on conduct,the natural consequence of which is to harass,

oppress, or abuse any person in connection with the collection ofa debt, including—but not limited

to--causing a telephone to ring or engaging any person in telephone conversation repeatedly or

continuously with the intent to annoy, abuse, or harass any person at the called number.

       52.     Specifically, although Plaintiff advised Defendant that he did not owe the Debt,

Defendant continued to cause Plaintiff's Cellular Telephone to ring with the intent of harassing,

annoying, or abusing Plaintiff into payment ofthe Debt.

       53.     Accordingly, Defendant violated 15 United States Code, Sections 1692d and

1692d(5).

       54       As a direct and proximate result of Defendant's actions, Plaintiff sustained damages

as defined by United States Code, Section I692k.

                                COUNT THREE:
                   TELEPHONE CONSUMER PROTECTION ACT-
            VIOLATION OF 47 UNITED STATES CODE,SECTION 227(b)(1)(A)

        Plaintiff re-alleges paragraphs one (I)through forty-seven (47) as if fully restated herein

and further states as follows:

        55.    Defendant is subject to, and violated the provisions of, 47 United States Code,
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Section .227 (b)(l)(A) by using an automatic telephone dialing system, a predictive telephone

dialing system, or an artificial or pre-recorded voice to call a telephone number assigned to a

cellular telephone service without Plaintiffs prior express consent.

       56      Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to unlawfully call Plaintiff's Cellular Telephone multiple times in its attempt to

collect the Debt.

       57.     If Defendant contends it possessed prior express consent, Plaintiff revoked such

consent.

       58.     Defendant's telephone calls complained of herein are the result of repeated willful

and knowing violations of the TCPA.

       59      As a direct and proximate result of Defendant's conduct, Plaintiff Suffered:

                         The periodic loss of his cell phone service;

                         Lost material costs associated with the use of cell phone minutes allotted

       under his cell phone service contract;

               c.        The expenditure ofcosts and attorney's fees associated with the prosecution

       of this matter:

               d.        Stress, anxiety, loss of sleep, and deterioration of relationships, both

        personal and professional, as a result of the repeated willful and knowing calls placed in

        violation of the TCPA;and

               e.        Statutory damages.

                                   DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury on all issues triable by right.

             SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE
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       Plaintiffs hereby give notice to Defendant and demand that Defendant and its affiliates

safeguard all relevant evidence—paper,electronic documents,or data—pertaining to this litigation

as required by law.

                                            Respectfully submitted,

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